          Case 2:08-cv-05286-RK Document 1 Filed 11/07/08 Page 1 of 7




                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA


JOHN MCCOY and              )                     Case Number
MARCUS MCCOY                )
                            )
                            )
        Plaintiffs,         )                     CIVIL COMPLAINT
                            )
    vs.                     )
                            )                     JURY TRIAL DEMANDED
ACADEMY COLLECTION SERVICES )
                            )
                            )
        Defendant.
                            COMPLAINT AND JURY DEMAND

          COMES NOW, Plaintiffs, John McCoy and Marcus McCoy, by and through his

 undersigned counsel, Brent Vullings, Esq. of Warren & Vullings, LLP, complaining of

 Defendant, and respectfully avers as follows:

                       I.      INTRODUCTORY STATEMENT

          1.    Plaintiff is an individual consumer and brings this action for actual and

 statutory damages and other relief against Defendant for violations to the Fair Debt

 Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”), which prohibits debt

 collectors from engaging in abusive, deceptive and unfair practices.

                                 II.     JURISDICTION

          2.    Jurisdiction of this court arises under 15. U.S.C. § 1692k(d) and 28 U.S.C.

 §1337.
         Case 2:08-cv-05286-RK Document 1 Filed 11/07/08 Page 2 of 7




         3.    Venue in this District is proper in that the Defendant transacts business

here and the conduct complained of occurred here.

                                    III.    PARTIES

         4.    Plaintiffs, John McCoy and Marcus McCoy, are adult individuals and

citizens of the State of Mississippi, with an address of 599 Lumpkin Avenue, Tupelo, MS

38801.

         5.    Defendant, Academy Collection Services, (“Defendant”), at all times

relevant hereto, is and was a corporation engaged in the business of collecting debt within

the Commonwealth of Pennsylvania with its principal place of business at 10965 Decatur

Road, Philadelphia, PA 19154.

         6.    Defendants are engaged in the collection of debts from consumers using

the telephone and mail. Defendants regularly attempt to collect consumer debts alleged

to be due to another. Defendants are “debt collectors” as defined by the FDCPA, 15

U.S.C. §1692a(6).

                          IV.    FACTUAL ALLEGATIONS

         7.    John McCoy is the father of co-plaintiff, Marcus McCoy.

         8.    Co-plaintiff, John McCoy, received a call on his home phone, 662-841-

9538, from Defendant on October 22, 2008. The Defendant called from 856-668-4132.

This harassing call is relative to an alleged consumer debt owed by co-plaintiff, Marcus

McCoy.

         9.    Co-plaintiff, John, answered the phone at approximately 7:40 p.m. The

defendant’s representative, Bill, asked for Marcus. John informed the representative that
        Case 2:08-cv-05286-RK Document 1 Filed 11/07/08 Page 3 of 7




he was not Marcus. Bill said, “Boy, put Marcus on the phone.” John told Bill that

Marcus was not available. Bill demanded to John “Boy, go get Marcus. Pull him by the

ear and drag him to the phone!” Bill said “What? You aren’t intelligent enough to

understand what I just said!” “Put Marcus on the phone now because he’s not going to

like what’s gonna happen to him!”

        10.     Co-plaintiff, John, told Defendant the call was being recorded, even

though it wasn’t. At that point, Bill hung up the phone.

        11.     Plaintiffs are African-American.

        12.     Co-plaintiff, John, called the phone number that was on his caller

identification and the telephone was answered by an agent of the Defendant which

identified the company as “ACS”. A female representative who did not identify herself

hung up on John McCoy once he started to explain what had transpired during the

previous telephone conversation.

        13.     John McCoy called the number again and spoke with the “manager, Sue

Moore.” Ms. Moore expressed disbelief that co-plaintiff had been treated in such a

condescending, abusive and racially discriminatory manner that he described.

        14.     Defendant has never cited the mini-Miranda nor disclosed the nature of

the debt.

        15.     Defendant has never sent written communication regarding the alleged

debt to the Plaintiff.

        16.     The harassing and condescending third party contact is a violation of the

FDCPA and is laced with racially discriminatory remarks.
        Case 2:08-cv-05286-RK Document 1 Filed 11/07/08 Page 4 of 7




                                     V.      COUNT I
                      FDCPA VIOLATION 15 U.S.C. § 1692 et seq.


        17.     The above paragraphs are incorporated herein by reference.

        18.     Defendant violated the FDCPA. Defendant’s violations include, but are

not limited to, the following: 15 U.S.C. 1692 b(1), c(b), d, d(2), d(6), e(11), f, and g.

        19.     As a result of the foregoing violations of the FDCPA, Defendant is liable

to Plaintiffs for a declaratory judgment that Defendant’s conduct violated the FDCPA,

actual damages, statutory damages, attorney’s fees and costs and other appropriate relief.

        WHEREFORE, Plaintiffs respectfully request that this court enter judgment in

their favor and against Defendant and Order the following relief:

        a.      Declaratory judgment that the Defendant’s conduct violated the FDCPA;

        b.      Actual damages;

        c.      Statutory damages pursuant to 15 U.S.C. §1692k;

        d.      Reasonable attorney’s fees and costs of suit pursuant to 15 U.S.C. §1692k;

and

        e.      Such addition and further relief as may be appropriate or that the interests

of justice require.
       Case 2:08-cv-05286-RK Document 1 Filed 11/07/08 Page 5 of 7




                                    VI.     COUNT II
             INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS



       20.     The above paragraphs are incorporated herein by reference.

       21.     Defendant intentionally and unlawfully telephoned John McCoy and

spoke to him in a manner that was malicious, intentional, willful, wanton, and grossly

insulting when the Defendant’s agent, “Bill” said, “Boy, put Marcus on the phone”,

“Boy, go get Marcus. Pull him by the ear and drag him to the phone!”, further stated

“What? You aren’t intelligent enough to understand what I just said!”, and/or with

reckless disregard for the same.



       22.     Defendant intentionally and unlawfully used racially prejudicial and

discriminatory language with the intention that plaintiff would suffer emotional

disturbance, and/or with reckless disregard for the same.



       23.     As a direct result of the aforesaid unlawful intentional, and/or reckless

misconduct by defendant, plaintiff has suffered severe emotional disturbance which is, or

may be, permanent in nature, all to his great financial loss and detriment.



       24.     As a further direct result of the aforesaid unlawful, intentional, and/or

reckless misconduct by defendant, plaintiff has been caused to undergo and experience in

the past, and will or may continue to undergo and experience in the future, severe

humiliation and embarrassment, all to his great financial loss and detriment.
       Case 2:08-cv-05286-RK Document 1 Filed 11/07/08 Page 6 of 7




       WHEREFORE, plaintiff demands judgment against defendant for compensatory

and punitive damages in addition to reasonable attorney’s fees, expenses, costs of suit

and such additional relief as is deemed just and proper in a sum in excess of fifty

thousand dollars ($50,000.00).

                                        VII.   COUNT III

             NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

       25. The above paragraphs are incorporated herein by reference.

       26. Defendant's misconduct with regard to the telephone communication with the

Plaintiff, John McCoy, as stated above, was negligent with respect to plaintiff since a

reasonably prudent person exercising due care would have refrained from such

misconduct, in part, because of the unreasonable risk that such misconduct would be

heard and realized by plaintiff, and that plaintiff would thereby be caused serious bodily

harm and emotional injury.



       27. As a direct result of the aforesaid negligence by defendant, plaintiff has

suffered severe emotional disturbance which is, or may be, permanent in nature, all to

her/his great financial loss and detriment.



       28. As a further direct result of the aforesaid negligent misconduct by defendant,

plaintiff has been caused to undergo and experience in the past, and will or may continue

to undergo and experience in the future, severe humiliation, and embarrassment, all to

her/his great financial loss and detriment.
       Case 2:08-cv-05286-RK Document 1 Filed 11/07/08 Page 7 of 7




       WHEREFORE, plaintiff demands judgment against defendant for compensatory

and punitive damages in addition to reasonable attorney’s fees, expenses, costs of suit

and such additional relief as is deemed just and proper in a sum in excess of fifty

thousand dollars ($50,000.00).




                                 VIII. JURY DEMAND

       Plaintiffs hereby demand a jury trial as to all issues herein.




                                      Respectfully submitted,

                                      WARREN & VULLINGS, LLP

                              BY:      /s/Brent F. Vullings_______
                                      Brent F. Vullings, Esquire
                                      1603 Rhawn Street
                                      Philadelphia, PA 19111
                                      215-745-9800 Fax 215-745-7880
                                      Attorney for Plaintiffs



Dated: November 4, 2008
